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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
UNITED STATES OF AMERICA

v.                                                 NO. 3:25-MJ-419
QUINTON JEDELL DARDEN


                               MOTION FOR DETENTION
         The United States moves for pretrial detention of the above named defendant

pursuant to 18 U.S.C. § 3142(e) and (f).

         1. Eligibility of Case. This case is eligible for a detention order because the case
            involves (check all that apply):

                ☐ Out of District (Rule 40);

                ☐ Crime of violence (18 U.S.C. § 3156);

                ☐ Maximum sentence of life imprisonment or death ;

                ☐ 10 + year drug offense ;

                ☐ Felony, with two prior convictions in above categories;

                ☒ Serious risk defendant will flee ;

                ☐ Serious risk defendant will obstruct or attempt to obstruct justice, or
                  threaten, injure, or intimidate a prospective witness, or attempt to
                  threaten, injure, or intimidate a prospective witness;

                ☐ Any felony involving a minor victim;

                ☒ Felony involving the possession or use of a firearm, destructive
                  device, or any other dangerous weapon;


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                ☐ Felony involving a failure to register under 18 U.S.C. § 2250.

        2. Reason for Detention. The Court should detain defendant because there are no

conditions or combination of conditions of release which will reasonably assure (check

one or both):

                ☒ Defendant’s appearance as required.

                ☒ Safety of any other person and the community.

        3. Rebuttable Presumption. The United States will invoke the rebuttable

presumption against the defendant because (check one or both):

                ☐ Probable cause to believe defendant committed 10+ year drug offense;

                ☐ Probable cause to believe defendant committed an offense under 18
                  U.S.C. §§ 924(c), 956(a), or 2332b;

                ☐ Probable cause to believe defendant committed a federal crime of
                  terrorism, 18 U.S.C. § 2332b(g)(5)(B) ;

                ☐ Probable cause to believe defendant committed a 20+ year peonage,
                  slavery, or trafficking in persons offense, 18 U.S.C. §§ 1581 through
                  1597 (Title 18, Chapter 77);

                 ☐ Probable cause to believe defendant committed an offense involving a
                  minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1),
                  2245, 2251, 2251A, 252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1),
                  2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423, or
                  2425;

                ☐ Previous conviction for “eligible” offense committed while on release
                  pending trial for a Federal, State, or local offense and not more than five
                  years has elapsed since the date of conviction or the defendant’s release
                  from prison, whichever is later.



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       4. Time For Detention Hearing. The United States requests the Court conduct the

detention hearing,

               ☒ At first appearance.

               ☐ After continuance of      days (not more than 3 days excluding any
                 intermediate weekend or holiday) pursuant to 18 U.S.C. § 3142(f)(2).


DATED this       25th     day of   April   , 2025.


                                           Respectfully submitted,

                                           CHAD E. MEACHAM
                                           ACTING UNITED STATES ATTORNEY


                                           s/Walt M. Junker
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                               CERTIFICATE OF SERVICE

      I hereby certify that true and correct copies of this document were served this day
on counsel of record by electronically filing the document with the clerk of court for the
U.S. District Court, Northern District of Texas using the ECF system.
                                           s/Walt M. Junker
                                           WALT M. JUNKER
                                           Assistant United States Attorney




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